                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                               Plaintiff,           )
                                                    )
vs.                                                 )      Case No. 15-03076-02-CR-S-RK
                                                    )
DONALD D. JOHNSON,                                  )
                                                    )
                               Defendant.           )

                                                ORDER

        On March 30, 2016, entered a plea of guilty to Count One contained in the Superseding
Indictment filed on September 30, 2015. before United States Magistrate Judge David P. Rush. Judge
Rush issued his Report and Recommendation (doc. 186).
        Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable
and voluntary and that the offense charged is supported by an independent basis in fact containing each
of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its
own Opinion and Order the Report and Recommendation of United States Magistrate Judge David P.
Rush.
        Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is
adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the
date and time of sentencing.
        SO ORDERED.
                                                    s/ Roseann A. Ketchmark
                                                    ROSEANN A. KETCHMARK, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: April 19, 2016




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